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                                            Liberty Square Building
                                            450 5th Street, N.W.
                                            Washington, DC 20530

                                             April 25, 2024


   Honorable Leda Dunn Wettre
   United States Magistrate Judge
   United States District Court
   District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07101

   Dear Judge Wettre:

   The United States writes in response to your request at the April 19, 2024
   conference and pursuant to Code of Conduct for United States Judges,
   Cannon 3(D). The United States appreciates the information provided by
   Court and the Court’s representation that this information does not affect the
   Court’s ability to preside impartially over this matter. Based on the
   information provided, the United States agrees that disqualification is not
   required.

                                                Respectfully submitted,

                                                By: s/ Jonathan Lasken
                                                JONATHAN LASKEN
                                                Assistant Chief
                                                Civil Conduct Task Force
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   PHILIP R. SELLINGER
   United States Attorney

   BY: JONATHAN LASKEN
   Assistant Chief
   Civil Conduct Task Force
   United States Department of Justice
   Antitrust Division
   450 Fifth Street NW, Suite 8600
   Washington, DC 20530
   Attorney for Plaintiff United States of America

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

    UNITED STATES OF AMERICA et al.,

                   Plaintiff,
                                                      Case No. 2:24-cv-04055-JXN-LDW
           v.

    APPLE INC.
                   Defendants.

                                 CERTIFICATE OF SERVICE

          I hereby certify that the above letter and this Certificate of Service were served

   upon defendant’s counsel, Craig S. Primis, Esq., Devora W. Allen, Esq., and K. Winn

   Allen, Esq. 1301 Pennsylvania Avenue, NW, Washington, D.C., 20004, by electronic

   mail on April 25, 2024.



                                                        BY: s/ Jonathan Lasken
                                                        JONATHAN LASKEN
                                                        Assistant Chief
                                                        Civil Conduct Task force
                                                        United States Department of Justice
                                                        Antitrust Division
                                                        Attorney for Plaintiff United States
